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                   FINAL LOCAL MASTER CONTRA CT
                        Including Uniform West Gulf Provisions


                                 April 3,2OL3
       This Memorandum of Understanding is made and entered into by and
between the West Gulf Maritime Association on behalf of its regular and
associate members who operate in Harris County, Texas, and the South Atlantic
and Gulf Coast District, lnternational Longshoremen's Association on behalf of all
of its affiliated locals in Harris County, Texas regarding container and container
roll-on/roll-off (ro-ro") operations.



      The collective bargaining agreement between United States Maritime
Alliance, Ltd ("USMX") and the lnternational Longshoremen's Association, AFL-ClO
("lLA") (the Parties) shall b9 in existence through.September 30,2OI8, and that
the terms and conditions orf that collective bargaining agreement is adopted
under this Memorandum of Understanding and shall continue to cover all terms
and conditions of employment not modified under this Memorandum of
Understanding. All terms and conditions of the existing Local Master Contract not
modified by this Agreement are adopted and shall continue in existence.

                                    West Gulf

   1". Workers   who worked one thousand two hundred (1200) or more hours
      between October 1,, 2011, and September 30, 2OI2 will be considered as
      "Previously Employed" [regular workers in the benefit system] for all basic
      wages as set forth in the Agreement(s) between the Parties effective upon
      ratification and will become eligible to qualify for the general industry
     fringe benefit system (MILA) on Octobe r !,   2O1,3.


  2. Workers who    have worked three thousand (3000) or more hours between
     October 1',2009 and September 30,2012 will be moved to regular worker
     status and become eligible to qualify for the general industry fringe benefit

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      system (MILA) in effect at that time. Any "New Entry/New Worker" who
      works three thousand (3000) or more qualified hours in any three (3)
      contiguous contract year period will be moved to regular worker status and
      become eligible to qualify for the general industry fringe benefit system
      (MILA) in effect at that time starting on the new contract year they qualify.


 3.   Workers who work one thousand five hundred (1500) or more hours in any
      contract year [commencing with October 1-, 20I2l through the life of this
      contract, will be moved to regular worker status and become eligible for
      the general industry fringe benefit system (MILA) in effect at that time
      starting on the next contract year.


4.    Grievance Procedure-See Attached


5. The Parties      agree to a mutually agreed progressive discipline system


6.    Drug Policy-The Parties will meet to mutually agree on revisions to the
      drug policy prior to October I,20L3.


7. The Parties will work jointly to create a system providing the West Gulf
      Maritime Association with information on workers seeking employment
      and those workers who were offered employment; and requiring workers
      on unemployment to seek employment.


8. Training, etc. --    See Attached regarding "Providing Qualified and Efficient
      Person nel"


9. With a minimum      of thirty (30) days notice, as soon as practical, the payroll
      week begins at 6 AM on Tuesday with the payday to remain on Friday. The
      payroll computer program will be implemented to all hours worked
      (including overtime hours) during the payroll week to be included on the
      paycheck for the same payroll week.


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 10. The Parties will work together to establish language and jurisdiction of light
       duty work by October 1",2OL3.


 11. The Parties may allocate fringe payment         to PV&W so that as much can       be
       paid into the Retirement Plan as possible while still meeting the obligations
       of the other plans.


 12.   The Parties may adopt rules        to    implement the master contract          CFS

       agreement.


                                           Houston


       1,. Labor Day. Work on Labor      Da y   to be paid at triple time 12:00 a.m. to
            6:00 a.m


       2. Work on Christmas Eve:       Ga ngs   that order for 7 am or 8 am will knock
            off at noon on Christmas Eve unless a vessel is finishing and gangs will
            be required to work straight through on double-time or whatever rate
            may apply depending on time worked.


       3. Trucks. The Parties will establish a joint truck driver safety committee.
          Employers will attempt to maintain trucks that have complete air
            conditioning systems.

       4.   Flex Meal Hour. The direct em ployer has discretion to send employees
            for a meal break_at 1-1:00, t2:00 or 1:00 for lunch or midnight meal, with
            one hour of prior notice. For any start that flexes at 1L AM or dinner at
            11 PM, the gang will have a five (5) hour guarantee after that lunch or
            dinner flex hour. lf a worker is allowed to take a meal break at one of
            these times, no additional compensation is to be paid for the meal hour.
            A meal break may be shifted only if a meal break is taken. lf gang(s) are
            finishing and work straight through the meal hour, they will be paid at
            the double time rate. This does not alter the guarantees for the
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         overhead (walking foremen, gang foremen, crane operators and clerk
         staff).


    5. Shiftine of     Ganes on Guar antee Time. Shifting of gangs may be done
         only in the morning or afternoon shifts. Gangs for 7:00 AM and 8:00 AM
         starts may be shifted from ship to ship for the same employer at the
         same terminal only when a gang has guarantee left on morning shift.
         For example, if a gang finishes at 9:30 AM and the guarantee is to L1:00
         AM, the employer may take the gang to the next vessel with the
         understanding that the gang will be guaranteed until 1:00 PM. The gang
         being shifted will work with the crane and only have to do moderate
         lashing after being shifted to the new vessel. The entire gang operation
         will shift    (walking foreman, gang foreman, goflB, wharf crane
         operator(s), and clerks). The same shift may occur in the afternoon if the
         gang finishes before the guarantee is up, then the whole gang structure
         will shift with the understanding the gang will be guaranteed until 7:00
         PM. "ln both situations as described above, a separate gang must be
         ordered for the next start time (1-:00 PM on morning shift and 7:00 PM
         on afternoon shift). ln the case where gang(s) is not shaped for l-:00
         PM, the Union agrees to take the meal hour from 1 PM to 2 PM and
         return with new overhead ordered for the ship (walking foreman, gang
         foreman, wharf crane operator(s) and clerks). lf a shifted gang works
         after 1 PM because the Hall failed to supply labor, the Employer will not
         be required   to hire labor at 3 PM.

    6.   Gang Cancellation: Gangs may be cancelled for any reason by 5 AM for
         the 7 AM or 8 AM starts for new vessels only. There will be                  no
         cancellation of vessels that are considered working vessels.


    7. Assistant Clerk. One (1) additional Assistant       Clerk will be employed on
         all "fully automated" container vessels when three (3) or more gangs are
         working. The employer may fill this position by a regular employee, lf


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      no regular employee is available, this position will be filled by seniority
      rotation pursuant to hiring hall rules.

    8. Automated Gang Foreman and Shore       Side Gantrv Crane - See attached.




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                             CONTAINER SHIP RULES


      1". Gangs are numbered based on the order they are placed at the
         hiring hall and are labeled in that order, e.g. first, second, third or
         fourth out gang.
      2. The right of way gang is the gang with the lowest number working
         the vessel. ln other words, the first out gang is the right of way gang
         until they finish and are released. Once the first out gang is finished
         and released, the second out gang is the right of way gang if they are
         still working.
      3. Gangs are placed on the vessel from forward to aft in order. ln other
         words, the first out gang will always be in the forward hatch. Gangs
         with lower numbers generally have priority; first out has priority over
         second, third, and fourth out; first out and second out have priority
           over third and fourth out.
      4.   When a gang is ordered back after a meal hour, the right oJ way gang
           will be ordered back. lf the employer works a gang through the meal
           hour at noon or midnight and brings a gang back, the forward most
           gang will be ordered back. lf not all gangs are ordered back after a
           meal hour, the gangs are ordered back in order of priority; first out
           gang, second out gang, and so on.
      5. There is no bumping of gangs while working during guarantee time.
           Reallocation of work is not considered bumping of gangs.
      6.   lf a gang finishes before a meal hour, that gang will be released when
         they finish.
      7. lf gangs are working at the end of the day or night and new gangs are
         coming to relieve the gangs, it is the employer's choice which gangs,
         if any, are worked through the meal hour.
      B. lf gangs are working at the end of the day or night, new gangs are not
         coming to relieve the gangs, the vessel is finishing by working
           through the meal hour, and if not all of the gangs work into the meal
           hour, the forward gangs will finish the vessel. lf all of the gangs work

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          into or past the meal hour then each gang may be released when
          finished. lf work is to be completed during the meal hour, it is the
          employer's choice which gangs are released before the meal hour.
          However, if higher priority gangs are released and lower priority
          gangs work past the meal hour, then the higher priority gangs
          displaced must be paid the same as the gang that worked. lf multiple
          gangs work into the meal hour and some gangs are released before
          finishing, they must be released in reverse order. For example, the
          third out gang must be released before the second out gang.
       9. The employers will always try to comply with these work rules;
          however, there may be exceptions to these rules if the employer
          attempts to comply with these rules and a hardship occurs that
          incurs additional cost or loss of time to shift gangs.




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                 Grievance and Arbitration Procedure
1. Scope

All employment decisions will be made without regard to race, creed, color,
religion, national origin, sex, ?g€, disability, sexual orientation, or union
membership or non-membership. The Parties will comply with all employment
statutes, including, but not limited to Title vll, FLSA, HIPAA, ERlsA, ADA, ADEA,
FMLA, and OSHA. ln addition, the Parties prohibit any employee or employer from
harassing or discriminating against any person because   of race, color, religion,
sex, national origin, age, sexual orientation, or disability, or any other basis
prohibited by law. The Parties also prohibit retaliation against a worker making     a

complaint or cooperating in an investigation.

Any complaint that there has been a violation of any employment law, including
all statutory and common law claims, will be resolved solely by the grievance and
arbitration provisions of the collective bargaining agreement. Any remedies
awarded relating to an employment law claim cannot exceed the statutory
remedies. No party will be liable for any conduct or decisions of any other party
unless that party had substantial and direct control of the conduct or decision at
issue. This provision does not apply to claims for workers' compensation benefits
and NLRA/NLRB claims, nor prevent any person from filing a charge with the
EEOC.

This grievance and arbitration procedure is the exclusive remedy with respect to
disputes arising between the union or any person working under the Agreement
and the Association or any employer. A Step    t   hearing must be requested within
six months of the original occurrence that is the basis of the complaint. Disputes
not submitted within the six month time limit are forever barred from          being
submitted.




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2. lnformal dispute resolution

At every stage of the          the Parties are encouraged to resolve disputes
                          process
informally, and are encouraged to submit disputes to a Joint Productivity Review
Committee.

3. Step   1


A worker must make a request for a Step        1-   hearing through their ILA Local. lf the
union is requesting a grievance it must give notice to the West Gulf Maritime
Association in writing as quickly as possible. lf an employer or the West Gulf
Maritime Association is requesting a grievance, it must give notice to the ILA Local
(orthe ILA District if it is a West Gulf -wide issue) in writing as quickly as possible.

lf a worker has a statutory employment law claim that includes a claim               against
another worker or against the union, the worker may make the request for a Step
L, Step 2, and arbitration directly to the West Gulf Maritime Association, and may
proceed independently of their ILA local at the Step 1, Step 2, and arbitration
proceedings.

The Step      t
           hearings will be coordinated by the West Gulf Maritime Association,
and a regular time will be set for the hearings. The Step I hearing time may be
scheduled to accommodate witnesses' schedules. All evidence and testimony the
Parties deem relevant is to be presented at the Step        t hearing. The Step 1- hearing
will be heard by at least one employer who is not involved in the dispute. lf the
dispute affects all employers, the Step t hearing will be heard by at least two
employers. The West Gulf Maritime Association will prepare a Step 1 report
describing the evidence presented and a recommended decision. The parties have
14 days from receipt of the Step 1 report to respond in writing to correct any
omissions     or mischaracterizations of any evidence given at the Step         t   hearing.
The recommended decision is final and binding on the parties if there is no Step 2.

4. Step 2

The employer may not appeal a Step 1 report recommended decision. The
District, on behalf of the ILA local, may appeal a Step 1- report recommended

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decision by written notice to the West Gulf Maritime Association within 30 days
of day the Step 1- report is sent to the union.

The South Atlantic and Gulf Coast District, lnternational              Longshoremen's
Association, and the West Gulf Maritime Association will use two mediators who
are acceptable to both Parties. Mediators will serve at the discretion of the
Parties throughout the term of the various Agreements between the Parties.

The Step 2 Appeals Committee is composed of one official of the LL.A. District
Office, one official of the West Gulf Maritime Association, and one mediator
selected at random by the Parties. The mediator selected shall then schedule a
Step 2 meeting as soon as possible, and will chair the Step 2 meeting, The parties
to the dispute have a right to be heard at the Step 2 meeting. The meeting is in
the nature of an appeal. The Appeals Committee is limited to a review of the
evidence submitted at the Step t hearing as set forth in the Step 1 report. lf there
is a claim of new evidence or an incomplete record at the Step 1, the Step 2
Appeals Committee may remand the claim to the Step 1 committee to complete
the heaiing. Neither member of this committee may be directly involved in the
dispute or have served in Step 1 of the grievance procedure.

lf the official of the l.L.A. District Office and the official of the West Gulf Maritime
Association agree on a decision, the decision will be signed by the ILA District
Office and the West Gulf Maritime Association, and will be a final and binding
decision.

lf the official of the l.L.A, District Office and the official of the West Gulf Maritime
Association do not agree on a decision, each will prepare a proposed decision and
submit those decisions to the mediator. The mediator must sign one of the
decisions submitted. The decision signed by the mediator will be immediately
implemented and observed.

5. Arbitration

lf the mediator  signs a decision, either Party may request that the dispute be
arbitrated. Arbitration must be requested within 30 days after the mediator's


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decision is distributed. lf neither Party requests arbitration within 30 days
following the mediator's decision, the decision is final and binding.

Arbitration is requested by seeking an arbitrator from the Federal Mediation and
Conciliation Service and giving the opposing party written notice. FMCS will
appoint a panel of five arbitrators and will submit the list to each of the Parties. lf
the Parties are unable to mutually agree on an arbitrator they will alternatively
strike one name from the panel of arbitrators (with the Party requesting the
arbitration going first) until only one name remains on the list and that person will
serve as the arbitrator of the grievance. lf the Parties do not select an arbitrator
within 14 days of receipt of the panel from FMCS because one of the Parties
refuses to engage in the selection process in a timely manner that Party shall be
considered in default and the grievance will be awarded to the other Party.

The arbitrator will have the authority to rule on the dispute which was made the
subject of the Step 1 report and on all issues of arbitrability of the dispute. The
arbitrator does not have authority to render a decision which has the effect of
modifying the terms of the Agreement negotiated by the Parties. The decision of
the arbitrator is final and binding upon all parties. The party             requesting
arbitration is required to paythe full amount of the arbitrator's fees and expense.

6.      Facilitator

The Parties will mutually agree on the use of a facilitator as appropriate.




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              Providine Qualified and Efficient Personnel


The Parties recognize the need for an efficient, progressive and updated training.
The representatives of the Locals to use every effort to provide persons qualified
and efficient for the class of work for which they may be ordered.

Any person entering the industry as a longshoreman will be required to attend a
safety course/longshore training/hazmat not exceeding sixteen (16) class room
hours during the first three months of his/her employment. Such safety/training
courses shall be determined and administered by the West Gulf Maritime
Association; any changes and programs to be administered in collaboration with
the ILA District and Locals. Powered lndustrial Truck IPlT] Refresher Training
developed with the ILA will be updated as necessary.

All workers must wear     OSHA-approved footwear, vests and hard          hats.   The
current practice of the employer providing rain gear shall continue.

The Parties will establish a Joint Committee to review and mutually determine
appropriate measures to reduce accidents due to fatigue. Furthermore, the Joint
Committee shall review and evaluate a joint selection process for new workers
prior to commencing employment by any direct employer, including l-9
paperwork, physical exams/pre-employment exams [paid by employers], pre-
employment drug test.

Lifting requirements per job may be mutually agreed to by the Parties




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               Shoreside gantrv crane o perator

Accountability

1.    Crane operators are required to take 66 2/3% of all outs within each
quarter. lf a crane operator fails to do so they will come before the Local 24
executive committee and may be removed from the crane board for 30 days.

2'     The crane operators will meet      to reiterate the importance of compliance
with this rule.

3.      The SCGC will meet with the employers           to   ensure all employers are
participating in the crane training program.

Training Program

The parties will meet to revise and.improve the shoreside gantry crane training
program.

Short operators

When all operators cannot be furnished for all gangs ordered by the union hall
the employer has the ability to safely distribute the supplied operators in a way to
be able to work the supplied gangs safely and efficiently while providing relief to
the operators in a coordinated relief procedure

1,.     The union hall will continue attempting to fill alljobs.

2.      As long as one operator per gang is supplied the gangs can commence
work.

3.    Any operators over and above the first run operators will report to the
worksite to be available for relief operations.

4.     The company (with consultation with the hall and the dispatched operators
on site) will implement a relief plan.


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5'     The company will take operation time and divide total number of operators
into that time to determine the equal amount of operating time for the supplied
operators. The relief operators will be used   to ensure all operators work that
amount of time.




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       Automated Gang Foreman Responsibilities
Hires gang labor on a timely basis to allow adequate drive time from hiring hall to
jobsite.

Fills out gang time sheet.

Makes sure labor is on terminal and accounted for. lf labor is not on the terminal
the gang foreman will call the local 24 hall for a replacement.

Makes water for the gang.

Picks up the gang's paperwork and working radio from the walking foreman or
office.

Manages the gang and holds labor accountable                for individual job duties         and
functions.

Updates drivers names on the gang timesheet and gives the gang timesheet to
the timekeeper or management as soon as complete.

Attends gangway safety meeting with gang

Ensures     the gang works as directed by the employer and meets all working
standards set out by West Gulf Maritime Association training and each employer;
any changes and programs to be administered in collaboration with the ILA
district and locals.

Make sure everyone works in a safe manner.

The gang foreman is to go on the vessel within the first half hour of the operation
or ASAP and:

          Checks   to make sure proper   PPE is   worn by labor;

          Checks for unsafe vessel conditions;

-     lmmediately reports unsafe vessel condition to terminal management and
the vessel crew;

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-      Directly supervises lashers to ensure they are working in pairs and following
safety rules;

-     lmmediately stops all unsafe acts by lashers, for example: throwing lashing
gear or standing up lashing gear against containers-railing;

-        Ensures hatch lids are unlocked and all turnbuckles stored properly;

-    Ensures sufficient amount of workers are                 on deck in order to    safely
complete the amount of work required;

-        Ensures that all lashing is completed per the vessel mates instructions;

-        When required gets vessel lashing approval sheet signed by Chief Mate-
vessel crew.



Under the crane:

         Checks   to make sure proper   PPE is   worn by labor;

-        lnsures ground men are working in the safety lanes, looking in the direction
of oncoming traffic, and are aware of their surroundings at all time under the
crane;

-        Enforces terminal rules regarding          the use of cell phone, ear piece,   blue
tooth, and electronic equipment;

         Enforces the hustler drivers are wearing their seat belt; and

-        Safety cones are in place and in use underthe crane and in the back reach.

The West Gulf Maritime Association and Local 24 will revise the progressive
discipline program to account for the discipline of all gang foreman. Local 24 will
endeavor to ensure that any automated gang foreman must be qualified to direct
any work performed by a longshore worker on a fully automated operation.




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